Case 2:23-cv-06020-FLA-MAR Document 1 Filed 07/25/23 Page 1 of 11 Page ID #:1

                                                                             ~"~~~~



UNITED STATES DISTRICT COURT FOR TIC CENTRAL DIST ~~'~~ p~~ J. ~ J
CALIFORNIA
                                                                -r~~
Plaintiff,                                             - =!~-..
                                                  ~~
Raymond Fahnbulleh

C/o 10965 Bluffside Drive Apt 365
Studio City, California Republic [91604]
Non-Domestic Without the U.S.

~.
MERCEDES-BENZ OF BEVERLY HILLS, and Robert Burt,

9250 Beverly Boulevard
Beverly Hills, California 90210

Serve Sales Manager: Robert Burt
9250 Beverly Boulevard
Beverly Hills, California 90210


Defendants.

COMPLAINT

     1. Plaintiff, Raymond Fahnbulleh, is a resident ofLos Angeles, California.

     2. Defendant Mercedes-Benz of Beverly Hills is a corporation with its
        principal place of business in Beverly Hills, California.

     3. Defendant Robert Burt is an agent of Defendant Mercedes-Benz of Beverly
        Hills.

     4. On or about March 20,2023,Plaintiff entered into a contract with Defendant
        Mercedes-Benz of Beverly Hills to purchase a new 2023 AMG GLE 53
Case 2:23-cv-06020-FLA-MAR Document 1 Filed 07/25/23 Page 2 of 11 Page ID #:2




       4MATIC COUPE Cirrus Silver Mercedes-Benz automobile for $104,401.65
       dollars.

    5. Defendant Robert Burt was the salesperson who represented Plaintiff in the
       purchase ofthe automobile.

    6. In the course ofrepresenting Plaintiff, Defendant Robert Burt breached his
       fiduciary duty to Plaintiff by:

           o Failing to apply my tender of payment(Security Collateral) to the
             accounting

           o Failing to deliver goods or performance after payment has been
             tendered;

           o Failing to act in Plaintiffs best interests; and

           o Acting in his own self-interest rather than Plaintiffs.

 "Equity regards as done what ought to be done"

 "Equity aids the vigilant, and not those who slumber on their rights"

 "He who comes into equity must come with clean hands"

 "Equity follows the law"

 "Equity regards the beneficiary as the true owner"

 "Equity will not suffer wrong to be without a REMEDY"

 They received my special deposit(security collateral) which was my tender for
 payment, but refused to deliver to me the automobile,"THAT'S WRONG".

           o LIPPS vs. petus 1996 —Supreme Court case —Payment has been
             tendered
Case 2:23-cv-06020-FLA-MAR Document 1 Filed 07/25/23 Page 3 of 11 Page ID #:3




            Definition: Tender is to unconditionally offer money or performance
            to meet an obligation .

   7. As a result of Defendant Robert Burt's breach of fiduciary duty, Plaintiff
      suffered damages and emotional damages in the amount of $404,401.65.

   8. Plaintiff demands judgment against Defendants for the sum of $404,401.65
      together with interest, costs, and other fees as the court may deem equitable

WHEREFORE,Plaintiff prays for judgment as follows:

   1. For a declaration that Defendants breached their fiduciary duty to Plaintiff;

   2. For the sum of $404,401.65 together with interest, costs, court fees and
      attorneys' fees; and

   3. For such other and further relief as the Court may deem just and equitable.

 CONCLUSION AND RECTUM ROGARE

WHEREAS,the facts and the law contained herein are before this court; and
WHEREAS,the facts and the law contained herein are the Truth; and WHEREAS,
we hold said Truth to be self-evident; and, WHEREAS,self-evident Truths are
undisputed and incontrovertible, no words can alter or overcome these Truths; and,
WHEREAS,Truth is Sovereign: comes from God and bears His message, from
whatever quarter great eyes may look down upon you; Psalms 117:2; John 8:32; II
Corinthians 13:8; THEREFORE;this court must perform its duty under the Rule of
Law, do Justice, Rectum Rogare, and GRANT JUDGEMENT IN FAVOR of the
Plaintiff without delay for "Justice delayed is Justice denied"


Dated: July 24, 2023
Case 2:23-cv-06020-FLA-MAR Document 1 Filed 07/25/23 Page 4 of 11 Page ID #:4


                                                 REGISTERED BOND #: 7022 2410 0002 0369-~}-~-
                                                                                                            ~~~3-Rf


 TO: Robert Burt d.b.a                                                  FROM: Raymond: ofthe family Fahnbulleh
    SENIOR SALES MANAGER                                                      C/o: 10965 Bluffside Drive Apt 365
     MERCEDES BENZ LOS ANGELES                                                Studio City,[41604)
     BEVEERLY HILLS,CA 90210                                                  California Republic
                                                                              Non-Domestic Without the U.S.

 CC: Frank Murphy d.b.a                                                                                    ~•
    GENERAL MANAGER
     MERCEDES BENZ LOS ANGELES
    9250 BEVERLY BOULEVARD
    BEVERLY HILLS,CA 90210
                                                                                                       x
                                      OPPORTUNITY TO CURE
 March 22, 2023

 Re: Investment Security (Credit Application )

 Hello Robert Burt,

 I am the agent here on behalf ofthe Principal. On Monday March 20, 2023, I, the consumer and natural living soul
 extended MERCEDES BENZ OF LOS ANGELES an investment security in the form of a credit application to be
 utilized to fund my account for the purchase of a 2023 AMG GLE 53 4MA'I'[C COUPE Cirrus Silver, agreement
 amount{$104,401.65 }and was denied extension ofmy own credit. When I called to inquire about this denial,"YOU"
 were very dismissive, rude and hung up the phone on me, after I, the living man brought you a business opportunity.
 I am appalled by the level of professionalism MERCEDES BENZ OF LOS ANGELES show towards potential
 business partners) who are simply seeking answers about a business transaction.

Adverse action against a consumer is AGAINST THE LAW according to the Equal Credit Opportunity Act(ECOA)
which is codified in 12 CFR Part 1002. I have proofthat 1 was discriminated against by MERCEDES BENZ OF LOS
ANGELES.Pursuant to the Federal Reserve Act Section 16(1)(2),the credit application that I submitted is the security
collateral that secures the purchase and its fully guaranteed up to principle and interest by,the United States Treasury.
In no event shall such collateral security be less than the amount of Federal Reserve notes applied for. Not only are
you factually incorrect when you told me my application was denied, but you were also willingly,knowingly providing
me with mis-leading and deceptive information which is a felony 15 U.S. CODE 1611. Neither you, nor the Bank is
risking anything in this transaction, but rather utilizing my own credit to finance this transaction. Your alleged claim
about my application being denied is frivolous and deceptive.

Furthermore, because my social secwiry number(credit card) was used and I did not RECEIVE my COLLATERAL
SECURITY. This is a proof of fraudulent activity (unauthorized use of credit card ). Equality under the Law is
paramount and mandatory. I DEMAND to have my security collateral returned because I did not abandoned it. I am
competent to handle my own affairs. If you think you are representing me in this matter, you and your heirs/as-
assi~ns/agents are hereby declared to be incompetent and are fired.. Without prejudice and without recourse.

Additionally,I would like to inform and instruct you the appointed trustee to transfer the already advanced SECURITY
COLLATERAL to secure the purchase ofthe Automobile. I will also inform and instruct the trustee to inform me
within five(5)business days in writing explaining why he lack/failed to perform; for my record and a article 3judge
of the United States of America Constitution should this matter be contested. Because if you cannot fulfil your
performance, t need to know why and I need to know in five(5) business days. if I do not receive anything back in
five(5)business days,I can assume you have carried out your trustee duties and expectto receive a call about finalizing
the purchase.
Case 2:23-cv-06020-FLA-MAR Document 1 Filed 07/25/23 Page 5 of 11 Page ID #:5


                                                 REGISTERED BOND #: 7022 2410 0002 0369 7159



   Be advised, ignorance to the Law/lack thereof is not an excuse to discriminate, violate or abuse me. Equality under
   the Law is mandatory and I am not in receipt of any document which verifies that my application was denied and 1
   believe NONE exist. Should this notice be dishonored and/ or not honored, this letter is further presentment and
   serving as a N07'ICE OF DISHONOR in accordance with U.C.C. —Article 3, 3-503(b): NOTICE OF DISHONOR,
   18 U.S. CODE 242 DEPRIVATION OF RIGHTS UNDER COLOR OF LAW and 18 U.S. CODE 1951:
   INTERFERENCE WITH COMMERCE NOTICE.




   Thank you..
   Done
     ti
        jn gobd faith.
    .7 '




                               By:~~~/I/P~ ~o-~n~0~ta//~X~~;cc~a~

                               For: ~pY/~Q~~L ~~tt~~u
                                      i              I'e~



                                 ~ccc~,oq~~ C~~~"

                                     ~ ~ ~ ~s ~~~f-~~ LAC~ ~-.3b~
Case 2:23-cv-06020-FLA-MAR Document 1 Filed 07/25/23 Page 6 of 11 Page ID #:6


                                             REGISTERED BOND NUMBER:7022 2410 0002 0369 7258




  TO: Robert Burt d.b.a                                                   FROM: Raymond: ofthe family Fahnbulieh
      SENIOR SALES MANAGER                                                      C/o: 10965 Bluffside Drive Apt 365
      MERCEDES BENZ LOS ANGELES                                                 Studio City,[91604]
      BEVEERLY EIILLS, CA 90210                                                 California Republic
                                                                                Non-Domestic Without the U.S.

  CC: Frank Murphy d.b.a                                                                                 ~                    i
     GENERAL MANAGEK                                                                                   ~~
      MERCEDES BENZ LOS ANGELES
     9250 BEVERLY BOULEVARD
     BEVERLY HILLS, CA 90210

                    DEFAULT JUDGEMENT -BREACH OF FIDUCIARY DUTY
                    INTENT TO SUE -FOR COLLATERAL SECURITY FRA[JD
  July ~ z, Zo2~
  O{~portunity to cure notice dated: \4arch 22,?023

  Re: Investment Securitq((relit ,application

  Hello Robert Burt,

  I am the agent here on behalf of the Principal. On Monday March 20, 2023, I, the consumer and natural living soul
  extended MERCEDES BENZ OF LOS ANGELES an investment security collateral in the form ofa credit application
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  amount{$104,401.65 }and was denied extension ofmy own credit. When I called to inquire about this denial,"YOU"
  were very dismissive, rude and hung up the phone on me, after I, the living man brought you a business opportunity.
  I am appalled by the level of professionalism MERCEDES BENZ OF LOS ANGELES show towards potential
  business partners) who are simply seeking answers about a business transaction.

  Adverse action against a consumer is AGAINST THE LAW according to the Equat Credit Opportunity Act(ECOA)
  which is codified in 12 CFR Part 1002. I have proofthat t was discriminated against by MERCEDES BENZ OF LOS
  ANGELES.Pursuant to the Federal Reserve Act Section 16(1)(2),the credit application that 1 submitted is the security
  collateral that secures the purchase and its fully guaranteed up to principle and interest by,the United States Treasury.
  In no event shall such collateral security be less than the amount of Federal Reserve notes applied for. Not only are
  you factually incorrect when you told me my application was denied, but you were also willingly, knowingly providing
  me with mis-leading and deceptive information which is a felony 15 U.S. CODE 1611. Neither you, nor the Bank is
  risking anything in this transaction., but rather utilizing my own credit to finance this transaction. Your alleged claim
  about my application being denied is frivolous and deceptive.

  Furthermore, because my social security number (credit card) was used and f did not RECEIVE my COLLATERAL
  SECURITY. This is a proof of fraudulent activity (unauthorized use of credit card ). Equality under the Law is
  paramount and mandatory. I DEMAND to have my security collateral returned because 1 did not abandoned it. 1 am
  competent to handle my own affairs. If you think you are representing me in this matter, you and your heirs/as-
  assigns/agents are hereby declared to be incompetent and are fired.. Without prejudice and without recourse.

  Additionally, I would like to inform and instruct you the appointed trustee to transfer the already advanced SECURITY
  COLLATERAL to secure the purchase of the Automobile. [will also inform and instruct the trustee to inform me
  within five(5) business days in writing explaining why he lack failed to perform; for my record and a article 3judge
  of the United States of America Constitution should this matter be contested. Because if you cannot fulfil your
  performance, I need to know why and I need to know in five (5) business days. If I do not receive anything back in
  Case 2:23-cv-06020-FLA-MAR Document 1 Filed 07/25/23 Page 7 of 11 Page ID #:7


                                                    REGISTERED BOND NUMBER:7022 2410 0002 0369 7258


         five(5)business days, I can assume you have carried out your trustee duties and expect to receive a call about finalizing
         the purchase.

         Be advised, ignorance to the Lawllack thereof is not an excuse to discriminate, violate or abuse me. Equality under
         the Law is mandatory and I am not in receipt of any document which verifies that my application was denied and I
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         18 U.S. CODE 242 DEPRIVATION OF RIGHTS UNDER COLOR OF LAW and 18 U.S. CODE 1951:
         INTERFERENCE WITH COMMERCE NOTICE.


s~w. .   A,   ,.   '~.
         Thanl~,you.
         Doge in good faith.




                                       For: ~~r///U~~~ ~.~ r7 ``~ ~~l~~~~~~7C/P~Il


                                          Lt~i~~ P''~~~c.~ UCG l~~~
                                          ~~~ ~~s R~
              Case 2:23-cv-06020-FLA-MAR Document 1 Filed 07/25/23 Page 8 of 11 Page ID #:8
Federal Reserve Board -Section 16. Note Issues
                                                                                         7~23~23, 11:15 PM




    Federal Reserve Act

                                             Section i6. Note Issues
          ~.              •
                                             i. Issuance of Federal Reserve notes; nature of obligation; where redeemable
                                             Federal reserve notes. to be issued at the discretion of the Board of Governors of the Federal Reserve System forth
                                             purpose of making advances to Federal reserve banks through the Federal reserve agents as hereinafter set forth ai
                                             no other purpose, are hereby authorized. The said notes shall be obligations of the United States and shall be receiv
                                             by ati national and member banks and Federal reserve banks and for all taxes, customs, and other public dues. They
                                             be redeemed in lawful money on demand at the Treasury Department of the United States, in the city of Washington
                                             District of Columbia, or at any Federal Reserve bank.
                                             X 12 USC 411 . As amended by act of Jan. 30. 1934 (48 Stat. 337). Far redemption of Federal reserve notes whose bank of
                                                                                                                                                                     issue cannot be iden
                                             see act of June 13. 1933.]

                                             2. Application for notes by Federal Reserve Uanks
                                             Any Federal Reserve bank may make application to the local Federal Reserve agent for such amount of the Federal
                                             Reserve notes hereinbefore provided for as it may require. Such application shall be accompanied with a tender to tt
                                             local Federal Reserve agent of collateral in amount equal to the sum of the Federal Reserve notes thus applied for a
                                             issued pursuant to such application. The collateral security thus offered shall be notes, drafts. bills of exchange, or
                                             acceptances acquired under section 10A, 10B, 13, or 13A of this Act, or bills of exchange endorsed by a member ba
                                             any Federal Reserve district and purchased under the provisions of section 14 of this Act, or bankers' acceptances
                                             purchased under the provisions of said section 14. or gold certificates, or Special Drawing Right certificates, or any
                                             obligations which are direct obligations of, or are fully guaranteed as to principal and interest by, the United States or
                                             agency thereof. or assets that Federal Reserve banks may purchase or hold under section 14 of this Act or any othe
                                             of a Federal reserve bank. In no event shall such collateral security be less than the amount of Federal Reserve note
                                             applied for. The Federal Reserve agent shall each day notify the Board of Governors of the Federal Reserve System
                                             issues and withdrawals of Federal Reserve notes to and by the Federal Reserve bank to which he is accredited. The
                                             Board of Governors of the Federal Reserve System may at any time call upon a Federal Reserve bank for additional
                                             security to protect the Federal Reserve notes issued to it. Collateral shall not be required for Federal Reserve notes
                                             are held in the vaults of, or are otherwise held by or on behalf of, Federal Reserve banks.
                                            [12 USC 412. As amended by the acts of Sept. 7, 1916(39 Stat. 754): June 21, 1917(40 Stat. 236); Feb. 27, 1932(47 Stat. 57); Feb. 3, 1933
                                            794); Jan. 30, 1934(48 Stat. 338), March 6, 1934(48 Stat. 991); June 30, 1941 (55 Stat. 395); May 25, 1943(57 Stat. BS); June 12, 1945(59
                                            237); June 19, 1968(82 Stat. 189); Nov. 10, 1978(92 Stat. 3672); March 31, 1980(94 Stat. 140); Dec. 6, 1999(113 Stat. 1638); and Od.
                                                                                                                                                                                  28, 2~
                                            (117 Stat. 1193).]

                                             3. Distinctive letter nn notes; destruction of unfit notes
                                             Federal Reserve notes shall bear upon their faces a distinctive letter and serial number which shall be assigned by tl
                                             Board of Governors of the Federal Reserve System to each Federal Reserve bank. Federal Reserve notes unfit for
                                             circulation shall be canceled, destroyed, and accounted for under procedures prescribed and at locations designatec
                                             the Secretary of the Treasury. Upon destruction of such notes, credit with respect thereto shall be apportioned among
                                             twelve Federal Reserve banks as determined by the Board of Governors of the Federal Reserve System.
                                            (12 USC 413. As amended by acts of June 21, 1917(40 Stat 236); Jan. 30, 1934(48 Stat. 338); June 12, 1945 (59 Stat. 237); July 19, 1954(6
                                            495); March 3, 1965(79 Stat. 5); May 20, 1966(80 Stat. 161); and March 18, 1968(82 Stat. 50).]

                                            4. Granting right to issue notes
                                             The Board of Governors of the Federal Reserve System shall have the right, acting through the Federal Reserve age
                                             grant in whole or in part, or to reject entirely the application of any Federal Reserve bank for Federal Reserve notes:
                                             the extent that such application may be granted the Board of Governors of the Federal Reserve System shall. throug
                                             local Federal Reserve agent, supply Federal Reserve notes to the banks so applying, and such bank shall be charge
                                             the amount of the notes issued to it and shall pay such rate of interest as may be established by the Board of Goverr
                                             the Federal Reserve System on only that amount of such notes which equals the total amount of its outstanding Fed
                                             Reserve notes less the amount of gold certificates held by the Federal Reserve agent as collateral security. Federal
                                             Reserve notes issued to any such bank shall, upon delivery, together with such notes of such Federal Reserve bank
                                             may be issued under section 18 of this Act upon security of United States 2 per centum Government bonds. become
                                             and paramount lien on all the assets of such bank.
                                            [12 USC 414. As amended by acts of June 21. 1917(40 Stat. 237); Jan. 30, 1934(48 Stat. 338); June 12, 1945 (59 Stat. 237); and March 18. 1
                                            Stat. 50).j

                                            5. Deposit to reduce liability for outstanding notes


https://www.federalreserve.gov~aboutthefed/sectionl6.htm
                                                                                                                                                                          Page 1 of 4
              Case 2:23-cv-06020-FLA-MAR Document 1 Filed 07/25/23 Page 9 of 11 Page ID #:9
Federal Reserve Board -Section 29. Civil Money Penalty                                   723/23, 11:20 PM




    Federal Reserve Act
                                             Section 2g. Civil Money Penalty
                i                           (a) First Tier. Any member bank which. and any institution-affiliated party (within the meaning of section 3(u) of the
                                            Federal Deposit Insurance Act) with respect to such member bank who, violates any provision of section 22, 23A, or
               ~                            or any regulation issued pursuant thereto, shall forfeit and pay a civil penalty of not more than $5,000 for each day d~
                                            which such violation continues.
                                            [12 USC 504(a). As added by ad of Nov. 10, 1978(92 Stat. 3641) and amended by acts of Od. 15, 1982(96 Stat. 1523) and Aug. 9, 1989(10£
                                            470).]

                                            (b) Second Tier. Notwithstanding subsection (a), any member bank which, and any institution-affiliated party (within
                                             meaning of section 3(u) of the Federal Deposit Insurance Act) with respect to such member bank who
                                                1      A. commits any violation described in subsection (a);
                                                       B recklessly engages in an unsafe or unsound practice in conducting the affairs of such member bank; or
                                                       C. breaches any fiduciary duty;

                                                2. which violation, practice, or breach--

                                                       A. is part of a pattern of misconduct;
                                                       B causes or is likely to cause more than a minimal loss to such member bank; or
                                                       C. results in pecuniary gain or other benefit to such party,

                                            shall forfeit and pay a civil penalty of not more than $25,000 for each day during which such violation, practice, or brE
                                            continues.
                                            [12 USC 504(b). As added by act of Nov. 10, 1978(92 Stat. 3641) and amended by act of Aug. 9, 1989(103 Stat. 470).]

                                            (c) Third Tier. Notwithstanding subsections (a) and (b), any member bank which, and any institution-affiliated party
                                            the meaning of section 3(u) of the Federal Deposit Insurance Act) with respect to such member bank who--
                                                1   knowingly—

                                                      A. commits any violation described in subsection (a);
                                                      B. engages in any unsafe or unsound practice in conducting the affairs of such credit union; or
                                                      C. breaches any fiduciary duty; and

                                                2. knowingly or recklessly causes a substantial loss to such credit union or a substantial pecuniary gain or other benefit to such party by rep
                                                   such violation, practice, or breach,

                                            shall forfeit and pay a civil penalty in an amount not to exceed the applicable maximum amount determined under
                                            subsection (d)for each day during which such violation, practice, or breach continues.
                                            [12 USC 504(c). As added by act of Nov. 10, 1978 (72 Stat 3641)and amended by ad of Aug. 9, 1989(103 Stat. 470).J

                                            (d) Maximum Amounts Of Penalties For Any Violation Described In Subsection (c). The maximum daily amoun
                                            any civil penalty which may be assessed pursuant to subsection (c) for any violation, practice. or breach described it
                                            subsection is--
                                                1. in the case of any person other than a member bank, an amount to not exceed $1,000,000; and
                                                2. in the case of a member bank, an amount not to exceed the lesser of --

                                                      A $1,000,000; or
                                                      B. 1 percent of the total assets of such member bank.

                                            [12 USC 504(d). As added by ad of Nov. 10, 1978 (92 Stat. 3641) and amended by acts of Oct. 15, 1982(96 Stat. 1523) and Aug. 9, 1989(10;
                                            470).]

                                            (e) Assessment, Etc. Any penalty imposed under subsection (a), (b), or (c) shall be assessed and collected by
                                                1 . in the case of a national bank, by the Comptroller of the Currency; and
                                                2. in the case of a State member bank, by the Board,

                                            i n the manner provided in subparagraphs (E),(F),(G), and (I) of section 8(i)(2) of the Federal Deposit Insurance Act
                                            penalties imposed (under such section) and any such assessment shall be subject to the provisions of such section.
                                            [12 USC 504(e). As added by act of Nov. 10, 1978(92 Stat. 3641) and amended by act of Aug. 9. 1989(103 Stat. 470).]

                                            (f) Hearing. The member bank or other person against whom any penalty is assessed under this section shall be aff
                                             an agency hearing if such member bank or person submits a request for such hearing within 20 days after the issuar
                                            the notice of assessment. Section 8(h) of the Federal Deposit Insurance Act shall apply to any proceeding under this
                                            section.
                                            [12 USC 504(f). As added by act of Nov. 10, 1978(92 Stat. 3641) and amended by act of Aug. 9, 1989(103 Stat. 470).]

                                            (g) Disbursement. All penalties collected under authority of this paragraph shall be deposited into the Treasury.


https:/Jwww.federalreserve.gov/aboutthefed~section29.htm                                                                                                                        Page 1 of 2
            Case 2:23-cv-06020-FLA-MAR Document 1 Filed 07/25/23 Page 10 of 11 Page ID #:10
 Federal Reserve Board -Section 29. Civil Money Penalty
                                                                                         7~23~23, 11:20 PM


                                              [12 USC 504~g). As added by ad of Nov. 10, 1976 (92 Stat. 3641) and amended by ad of Aug. 9, 1989(103 Stat.
                                                                                                                                                                 470).)
                                             (h) Violate Defined. For purposes of this section, the term "violate" includes any action (alone or with another
                                                                                                                                                                                         or oth~
                                              for or toward causing, bringing about, participating in, counseling, or aiding or abetting a violation.
                                             [12 USC 504(h) As added by ad of Aug. 9, 1989(103 Stat. 470).]

                                             (i) Regulations. The Comptroller of the Currency and the Board shall prescribe regulations establishing such procec
                                             as may be necessary to carry out this section.
                                             [12 USC 504(ij As added by act of Aug. 9, 1989(103 Stat. 470).]                                                                         r      t
                                                                                                                                                         ~      ~ :; 'r   f p
                                             (m)' Notice Under This Section After Separation From Service. The resignation, termination of employment or participation, or
                                                                                                                                                                                  sep~retion o
                                             institution-affiliated party (within the meaning of section 3(u) of the Federal Deposit Insurance Ad)with respell to a member bank
                                                                                                                                                                                 (including a
                                             separation caused by the closing of such a bank) shall not afled the jurisdiction and authority of the appropriate Federal banking
                                                                                                                                                                                agency to issu
                                             notice and proceed under this section against any such party, if such notice is served before the end of the 6-year period beginning
                                                                                                                                                                                   on the date
                                             party ceased to be such a party with respect to such bank (whether such date occurs before, on, or after the dale of the enactment
                                                                                                                                                                                  of this subsc
                                             [12 USC 504(m) As added by ad of Aug. 9. 1989(103 Stat 461).j

                                               So in original. Subsection (m)was added wdhout subsections Q) through (~.




   Last Update: February i4, 2oi~




https:~/www.federalreserve.gov~aboutthefed~section29.htm
                                                                                                                                                                                Page 2 of 2
             Case 2:23-cv-06020-FLA-MAR Document 1 Filed 07/25/23 Page 11 of 11 Page ID #:11
Credit Report - IdentitylQ                                                               7~24~23, 1:32 PM



     Two-Year payment history                                                                                                         r

        Month        May Apr Mar Feb Jan Dec Nov Oct Sep Aug Jul Jun May Apr Mar Feb Jan Dec Nov Oct Sep Aug Jul ]un

           Year       23 23 23        23   23     22   22   22   22    22   22 22   22   22 22   22   22   21   21   21     21   21   21   21
    TransUnion

     Experian

       Equifax


     ~~~Q~




                                                                                                                            t




            Below are the names of people and/or organizations who have obtained a copy of your Credit Report.
            I nquiries such as these can remain on your credit file for up to two years.




     MB FIN SVCS                                       Auto Financing                            03/20/2023           TransUnion
     BEVERLY HILL                                      Auto Dealers, New                         03/20/2023           TransUnion
     CBNA                                              -                                         08/25/2021               Equifax




                                                                                                                            t




            Below is an overview of your public records and can include details of bankruptcy filings, court records, tax
            liens and other monetaryjudgments. Public records typically remain on your Credit Report for 7 - 10 years.

                                                                      None Reported




                                                                                                                            t




            I nformation about how to contact people and/or organizations that appear on this credit report is listed
            below.




https://member.identityiq.com~CreditReport.aspx                                                                                       Page 11 of 12
